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Removeyourcontent , LLC
304 S Jones Blvd # 194
Las Vegas, NV 89107
United States of America
Ph: 845-217-0833
E-mail: notices@removeyourcontent.com
6/20/2020 3:38:03 PM

re: https://camshowhub.to ( IP 172.67.172.194 )

ELECTRONIC NOTICE OF COPYRIGHT INFRINGEMENT

I, the undersigned, CERTIFY UNDER PENALTY OF PERJURY that I am an
agent authorized to act on behalf of http://profiles.myfreecams.com/ whose exclusive copyrights
are being
infringed. The information in this notice is accurate.

Original Works & Copyright Holder(s):
Camgirl Antipiracy
C/O Removeyourcontent LLC
Las Vegas, NV 89107
United States of America
Ph: 845-217-0833

Location of Original Works:
https://profiles.myfreecams.com/AmiraBarbie

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Truthfully,
/S/: Jim McAnally, Authorized Agent
